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                                   United States v. Lucio Celli
                            Special Conditions of Supervised Release


    •     The defendant shall not telephone any court personnel, nor have any third party (other
          than his counsel) do so on his behalf.
    •     The defendant shall not email any court personnel unless expressly permitted, in
          writing, by his supervising probation officer. He shall not cause any third party (other
          than his counsel) to email court personnel on his behalf unless expressly permitted, in
          writing, by his supervising probation officer.
    •     The defendant shall not call, email, fax, or contact any judge of any court, or any
          judge’s chambers, including, without limitation, by U.S. mail.
    •     The defendant shall not file any document in any court unless or until counsel reviews
          it and certifies to him that it does not contain a threat.
    •     After counsel approves a filing, the defendant may file documents in an appropriate
          way. If submitting the filing to the Pro Se Office by U.S. mail is an available option,
          then he must avail himself of that option.
    •     The defendant is obligated to provide all filings to counsel at least 14 days before the
          date on which he intends to file them.
    •     The defendant is obligated to provide complaints for any new civil lawsuits to the
          Probation Office at least 14 days before he intends to file them and/or initiate the
          litigation.
    •     The defendant shall not make any phone calls or send any written correspondence
          (including e-mail) to any prosecutor or government personnel, and shall not have any
          third party do so on his behalf (with the exception of counsel).
    •     The defendant shall confer with counsel regarding any pending or future complaints
          of alleged misconduct by any judge or prosecutor filed by the defendant to determine
          whether those complaints conform with applicable legal standards and rules of
          conduct. If, after conferring with counsel, it is determined that any such pending
          complaint does not conform with applicable legal standards or rules of conduct, the
          defendant shall either amend or withdraw the complaint through counsel. The
          defendant shall not submit any such future complaints except through counsel.
    •     The defendant shall participate in an outpatient mental health treatment program as
          approved by the Probation Department, and engage in any other counseling treatment
          requested by the Probation Department. The defendant shall contribute to the cost of
          such services rendered and/or any psychotropic medications prescribed to the degree
          he is reasonably able, and shall cooperate in securing any applicable third-party
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          payment. The defendant shall disclose all financial information and documents to the
          Probation Department to assess his ability to pay.
    •     The defendant shall enter a 30-day inpatient substance abuse treatment program
          starting on July 23, 2021 or as soon thereafter as the Probation Department arranges.
          The Court understands that the defendant’s therapist, Alyssa Pappas at Samaritan
          Daytop, has referred the defendant to Geisinger addiction treatment in Danville,
          Pennsylvania. The defendant shall contribute to the costs of such treatment not to
          exceed an amount determined reasonable by the Probation Department’s Sliding
          Scale for Substance Abuse Treatment Services, and shall cooperate in securing any
          applicable third party payment, such as insurance or Medicaid. The defendant shall
          disclose all financial information and documents to the Probation Department to
          assess his or her ability to pay. The defendant shall not consume any alcohol or other
          intoxicants during and after treatment, unless granted a prescription by a licensed
          physician and proof of same is provided to the Probation Department. The defendant
          shall submit to testing during and after treatment to ensure abstinence from drugs and
          alcohol.
    •     The defendant’s ability to access the internet, or have third parties access the internet
          on his behalf, shall be restricted as required by the Probation Department.
    •     The defendant shall participate in and cooperate with the U.S. Probation
          Department’s Computer and Internet Monitoring program. Cooperation shall include,
          but not be limited to, identifying computer systems, Internet capable devices, and/or
          similar electronic devices the defendant has access to, and allowing the installation of
          monitoring software/hardware on said devices, at the defendant’s expense. The
          defendant shall inform all parties that access a monitored computer, or similar
          electronic device, that the device is subject to search and monitoring. The defendant
          may be limited to possessing only one personal Internet capable device, to facilitate
          the Probation Department’s ability to effectively monitor his Internet related
          activities. The defendant shall also permit random examinations of said computer
          systems, Internet capable devices, similar electronic devices, and related computer
          media, such as CDs, under his control.
    •     Upon request, the defendant shall provide the Probation Department with full
          disclosure of his financial records, including co-mingled income, expenses, assets and
          liabilities, to include yearly income tax returns. The defendant shall cooperate with
          the Probation Officer in the investigation of his financial dealings and shall provide
          truthful monthly statements of his income and expenses. The defendant shall
          cooperate in the signing of any necessary authorization to release information forms
          permitting the U.S. Probation Department access to his financial information and
          records.
    •     The defendant shall report to the Probation Office any and all electronic
          communications service accounts (as defined in 18 U.S.C. § 2510(15)) used for user

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          communications, dissemination and/or storage of digital media files (i.e. audio, video,
          images). This includes, but is not limited to, email accounts, social media accounts,
          and cloud storage accounts. The defendant shall provide each account identifier and
          password, and shall report the creation of new accounts, changes in identifiers and/or
          passwords, transfer, suspension and/or deletion of any account within 5 days of such
          action. Failure to provide accurate account information may be grounds for
          revocation of release. The defendant shall permit the Probation Office to access and
          search any account(s) using the defendant’s credentials pursuant to this condition
          only when reasonable suspicion exists that the defendant has violated a condition of
          his supervision and that the account(s) to be searched contains evidence of this
          violation. Failure to submit to such a search may be grounds for revocation of release.
    •     The defendant shall notify the New York City Department of Education and the New
          York State Education Department of his conviction. He must comply with their
          directives regarding employment, and licensing and allow the Probation Department
          to verify the same.
    •     The defendant shall submit his person, property, house, residence, vehicle, papers,
          computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or
          data storage devices or media, or office, to a search conducted by a United States
          probation officer. Failure to submit to a search may be grounds for revocation of
          release. The defendant shall warn any other occupants that the premises may be
          subject to searches pursuant to this condition. An officer may conduct a search
          pursuant to this condition only when reasonable suspicion exists that the defendant
          has violated a condition of his supervision and that the areas to be searched contain
          evidence of this violation. Any search must be conducted at a reasonable time and in
          a reasonable manner.




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